                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION

                                     No. 5:08-CR-380-02-F
                                      NO·5: 10 -CV-305-F


JUSTIN LEE ROBERSON,                       )
            Movant,                        )
                                           )
               v.                          )
                                           )
UNITED STATES OF AMERICA                   )
           Respondent..                    )


              This matter is before the court for initial consideration of Justin Lee Roberson's

("Roberson") "Motion to Vacate, Set Aside or Correct his Sentence" [DE-76], pursuant to 28

U.S.C. § 2255 , filed August 2, 2010. Rule 4, RULES GOVERNING § 2255 PROCEEDINGS, provides:

              (b) Initial consideration by judge. ... If it plainly appears
              from the motion, any annexed exhibits, and the record of prior
              proceedings that the moving party is not entitled to relief, the
              judge must dismiss the motion and direct the clerk to notify the
              moving party.

               Pursuant to a Memorandum of Plea Agreement [DE-59] with the Government,

Roberson pled guilty to Counts One, Three and Four of a four-count indictment, charging him

with (1) conspiracy to commit armed bank robbery and aiding and abetting; (3) use of a firearm

during and in relation to a crime of violence and aiding and abetting; and (4) possession of a

stolen firearm and aiding and abetting. The court allowed the Government's motion to dismiss

Count Two at sentencing.

               Roberson was sentenced on July 22,2009, to a 90-month term of imprisonment,

consisting of 30 months on each of Counts One and Four, and 60 months on Count Three, to be

served consecutively to the sentences imposed in Counts One and Four. In addition, Roberson's

sentence included three years' supervised release as to each count, to run concurrently. He was



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ordered to pay a $4,000 fine and a $300 special assessment. Roberson's Plea Agreement

contained a valid appeal waiver and waiver of his right to collaterally attack his conviction or

sentence, except on grounds of prosecutorial misconduct or ineffective assistance of counsel.

Roberson did not appeal his conviction or sentence.

                Because he did not appeal, Roberson's conviction and sentence became final for §

2255 purposes fourteen days after July 22, 2010. According to the time and date stamp on the

envelope processed in the mailroom at FCI Tallageda, Roberson delivered his § 2255 motion to

prison officials for mailing on July 23,2010, at 12:00. Roberson's motion, therefore, is deemed

timely. See, e.g., Rule 3(d), RULES GOVERNING SECfION 2255 CASES (providing that filing by an

inmate is deemed timely filed "if deposited in the institution's internal mailing system on or

before the last day for filing").

                Although Roberson's § 2255 motion is timely, it states no legal or factual basis

for relief. Roberson, who was represented by competent counsel at all stages of prosecution,

and who entered a guilty plea pursuant to a Memorandum of Plea Agreement, raises five claims:

                First, Roberson complains that after his arrest he did not have a first appearance

for four or five days, that his state court-appointed counsel was not appointed for ten days

thereafter and that only upon his next appearance in court did he meet his appointed counsel.

He contends the "tactical delay" violated his Sixth Amendment rights.

                Second, Roberson complains that he was not afforded a two-point reduction as a

"first offender" when he was sentenced in this case. He suggests that his federal court­

appointed lawyer was ineffective in allowing this oversight.

                Third, Roberson contends his attorney should have filed a motion to suppress

evidence of the firearms and ammunition the police recovered from the trunk of his vehicle on




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the date of his arrest, in violation of the Fourth Amendment. It appears he basis his argument

on the contention that the items were not "in plain view."

                Fourth, Roberson complains he was denied "full disclosure" because he was not

allowed to hear a covertly-recorded conversation between himself and "Wojack" prior to

entering his guilty plea. He avers that his lawyer forced him into signing a plea agreement by

advising he would lose the three-point reduction in his advisory sentencing guideline

calculation for acceptance of responsibility unless he promptly entered into the plea agreement.

Accordingly, he contends that he was denied a "complete defense" accorded him by the

Constitution.

                Finally, Roberson explains that this court lacked jurisdiction to adjudicate his

case because he was arrested "on state soil." He contends his lawyer should have moved to

dismiss this prosecution for lack of federal jurisdiction.

                This court found in open court during Roberson's Rule 11 hearing that his guilty

plea was knowing and voluntary. A knowing and voluntary guilty plea constitutes an admission

ofthe material elements ofthe crime, see McCarthy v. United States, 394 U.S. 459, 466 (1969),

and waives non-jurisdictional errors, including claims of unlawful search and seizure based on

the Fourth Amendment and challenges to defects in the indictment. See Tollett v. Henderson,

411 U.S. 258, 267 (1973). Roberson's guilty plea also waived his right to contest the factual

merits ofthose charges. See United States v. Willis, 992 F.3d 489,490-91 (4 th Cir. 1993).

                Moreover, Roberson's Memorandum of Plea Agreement contained a "Wiggins

waiver," which provides in pertinent part:

                To waive knowingly and expressly all rights ... to appeal whatever
                sentence is imposed including any issues that relate to the
                establishment of the advisory guideline range, reserving only the
                right to appeal from a sentence in excess of the applicable advisory
                guideline range that is established at sentencing, and further, to
                waive all rights to contest the conviction or sentence in any post­

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               conviction proceeding, including one pursuant to 28 U.S.C. §
               2255, excepting an appeal or motion based upon grounds of
               ineffective assistance of counselor prosecutorial misconduct not
               known to the Defendant at the time of the Defendant's guilty plea.

Memorandum of Plea Agreement [DE-59] ~ 2(C). The terms ofthat informed and voluntary

waiver of post-conviction motions excluded motions based on ineffective assistance of counsel

or prosecutorial misconduct not known to him at the time he entered his guilty plea. At the

time he entered his guilty plea, Roberson was aware of the facts that formed the basis of his

first, third and fourth § 2255 claims. Those challenges are not reserved, but, rather, fall within

the valid waiver of post-collateral review of his attorney's representation.

               As to his second claim - that he should have received a two-point reduction in

the calculation of his advisory guideline range for being a first-offender - the court assumes

Roberson is referring to the "safety valve" provision contained in the advisory United States

Sentencing Guidelines ("USSG"). See USSG § 5C1.2(a). Roberson however, was not qualified

for the safety valve adjustment.

               According to the uncontested factual predicate for Roberson's guilty plea, he and

a co-conspirator stole a shotgun from a co-worker's vehicle for use in the planned armed

robbery of the Fort Still National Bank in Fayetteville, North Carolina. Roberson agreed to

carry the shotgun into the bank. The robbery attempt was foiled, however, when the police

Emergency Response Team, acting on information obtained from a wiretap, arrested the would-

be bandits as they packed their robbery tools into Roberson's car. The search incident to arrest

revealed, inter alia, the stolen Mossburg shotgun in the trunk.

               A defendant who otherwise would be qualified for application of the safety valve

provision becomes ineligible if he used violence or credible threats of violence, or possessed a

firearm or other dangerous weapon, or induced another participant to do so in connection with



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the offense. See USSG § 5C1.2(a)(2). The burden is on a defendant to prove the existence of the

five pre-requisites for the safety valve set forth in USSG § 5C1.2(a). See United States v. Wilson,

114 F.3d 429,432 (4 th Cir. 1997). The unchallenged evidence here demonstrates that Roberson

himself acquired (by stealing), possessed and intended personally to carry the stolen Mossburg

shotgun into the bank. That conduct prevented him from receiving a safety-valve reduction in

the calculation of his advisory USSG range.

               Finally, Roberson suggests that this court lacked subject matter jurisdiction to

hear and adjudicate the charges against him because the crimes did not occur on land "ceded" to

the United States. His claim in this regard is specious. Roberson pled guilty to conspiracy to

commit armed bank robbery and aiding and abetting, in violation of 18 U.S.C. § 371. One

element of the federal offense of armed robbery under 18 U.S.C. § 2113(a), (d) is that the

institution from which the money was stolen (or, as here, was planned to be stolen), was a

"bank, credit union, or any savings and loan association." Subsection (0 defines a "credit

union" as that term is used in § 2113(a). In pleading guilty to Count One - conspiracy to

commit armed bank robbery and aiding and abetting under § 2113(a), (d) and § 2, in violation of

§ 371, Roberson admitted the existence of all elements of that offense.

                                           SUMMARY

               Accordingly, the court finds it plainly appears from the motion and the prior

proceedings in this case that Roberson is not entitled to relief on his § 2255 motion.

Accordingly, the Roberson's § 2255 motion [DE-76] is DISMISSED pursuant to Rule 4, RULES

GOVERNING § 2255 PROCEEDINGS.

               Furthermore, after reviewing the claims presented in the instant § 2255 petition

in light of the applicable standard, the court finds reasonable jurists would not find the court's

treatment of any of Roberson's claims debatable or wrong, and none of the issues are adequate

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to deserve encouragement to proceed further. Accordingly, a certificate of appealability is

DENIED. Rule 11 (c)(1)(B), (2), Rules Governing § 2255 Proceedings.

              SO ORDERED.

              This, the 4 th day of August, 2010.




                                           ESC. FOX
                                         nior United States District Judge




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